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                                                                                                E-FILED
                                                           Monday, 07 February, 2022 10:29:42 AM
                                                                     Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS                            H 8 - l 20?7
                             AT SPRINGFIELD
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 UNITED STATES OF AMERICA,                 )                             =N l HA:_                or P...UNOIS
                                           )   No. 22-cr- 30005
                     Plaintiff,            )
                                           )   VIOLATIONS:
       V.                                  )
                                           )   21 U.S.C.   § 841(a)(l)
 PHILLIP M. JENSEN,                        )   21 U.S.C.   § 843(a)(3)
                                           )   18 U.S.C.   § 1365(a)
                     Defendant.            )   18 U.S.C.   § 1035

                                  INDICTMENT

The Grand Jury charges:

                                     COUNTS 1-8
                                   (Drug Diversion)

At all times material:

      1.     PHILLIP M. JENSEN ("JENSEN") was a dentist who was licensed to

practice in the State of Illinois. JENSEN owned and operated his own practice

located in Springfield, Illinois. JENSEN specialized in oral and maxillofacial

surgery and was licensed by the State of Illinois for this specialization.

      2.     Insurance coverage and payment for oral and maxillofacial surgery

was available through both public and private "health care benefit programs" (as

defined in Title 18, United States Code, Section 24(b)) such as Medicare, Medicaid,

and Molina Healthcare of Illinois.
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      3.     As part of his employment, JENSEN applied for and received a "DEA

Number." A DEA Number was a unique identifier that was assigned to an

individual health care provider by the Drug Enforcement Administration

("DEA"). A health care provider must have a DEA Number in order to purchase,

dispense, administer, and write prescriptions for controlled substances. A health

care provider with a DEA Number was known as a "registrant."

      4.    During the relevant time period, JENSEN was the only medical

professional at his practice who was a registrant.

      5.    Fentanyl was a Schedule II controlled substance and was sold, as

relevant to this indictment, in 2ml and 5ml vials. Each vial was clearly labeled, by

the manufacturer, with markings indicating the size of the vial, the contents of the

vial, and the concentration of the fentanyl contained therein.

      6.    The vials contained a "safety cap" which had to be removed in order

to access the fentanyl within the vial. Once the safety cap was removed, a needle

was used to extract the necessary quantity of fentanyl from the vial and this

quantity was then administered to a patient. Any excess fentanyl was disposed of

or "wasted." Safety caps were not designed to re-attach after their removal.

      7.    Starting at least as early as December 2019 and continuing through at

least August 17, 2020, JENSEN used his DEA Number to order fentanyl vials.




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JENSEN purportedly bought the fentanyl to be used as an anesthesia during

surgery.

      8.     Unbeknownst to his patients, JENSEN adulterated the fentanyl vials

he purchased before he used the adulterated fentanyl in surgery. Specifically, prior

to surgery, JENSEN removed the safety caps from the vials of fentanyl, pierced the

vials, extracted half of the fentanyl from the vials and set it aside for his personal

use. JENSEN then pierced the vials a second time and injected another substance

to replace the amount of fentanyl he had removed. JENSEN then glued the safety

cap back onto the vials.

      9.     JENSEN then took the adulterated fentanyl-which was now at half

its labeled strength- and administered it to his patients as anesthesia.

      10.    JENSEN maintained medical records for each of his patients. In most

instances, JENSEN made entries and caused entries to be made in those medical

records indicating that his patients had received full strength, unadulterated,

fentanyl. JENSEN never recorded and caused to be recorded the fact that he had

administered adulterated fentanyl.

                              Diversions of Fentanyl

      11.    On or about each of the dates set forth below, in the Central District

of Illinois and elsewhere,

                               PHILLIP M. JENSEN,

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a registrant authorized to dispense controlled substances, knowingly distributed

and dispensed a mixture and substance containing a detectable amount of

fentanyl, a Schedule II controlled substance. Each distribution listed below was

issued outside the scope of professional practice and not for a legitimate medical

purpose, each distribution constituting a separate offense:

                   Count        Date              Patient
                   1.           1/3/2020          A.S.
                   2.           2/21/2020         R.F.
                   3.           3/9/2020          K.D.
                   4.           3/31/2020         K.B.
                   5.           5/15/2020         P.K.
                   6.           6/4/2020          M.M.
                   7.           7/13/2020         B.M.
                   8.           8/17/2020         D.R.


      All in violation of Title 21, United States Code, Section 841(a)(l).




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                                   COUNTS9-16
                    (Acquiring a Controlled Substance by Fraud)

      12.    The grand jury realleges and incorporates by reference the allegations

set forth in paragraphs 1 -10 as if fully set forth herein.

      13.    On or about each of the dates set forth below, in the Central District

of Illinois and elsewhere,

                               PHILLIP M. JENSEN,

defendant herein, knowingly and intentionally obtained fentanyl, a Schedule II

controlled substance, by misrepresentation, fraud, forgery, deception, and

subterfuge, to wit, on or about the dates listed below he removed fentanyl from

the vials that were used in the surgeries of each patient and concealed his actions

by refilling the vials with another substance and gluing the safety caps back on,

each instance constituting a separate offense:

                     Count       Date              Patient
                    9.           1/17/2020         D.D.
                    10.          2/21/2020         P.N.
                    11.          3/6/2020          H.K.
                    12.          3/17/2020         C.B.
                    13.          5/22/2020         S.J.
                    14.          6/12/2020         Z.F.
                    15.          7/10/2020         C.S.
                    16.          8/11/2020         N.R.


      All in violation of Title 21, United States Code, Section 843(a)(3).




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                                      COUNT17
                           (Tampering with Consumer Products)

      14.    The grand jury realleges and incorporates by reference the allegations

set forth in paragraphs 1 -10 as if fully set forth herein.

      15.    On or about August 6, 2020, in the Central District of Illinois and

elsewhere,

                                 PHILLIP M. JENSEN,

defendant herein, with reckless disregard for the risk that another person would

be placed in danger of death and bodily injury, and under circumstances

manifesting extreme indifference to such risk, did tamper with a consumer

product that affected interstate and foreign commerce, specifically fentanyl vials

and with the labeling of and container for such a product by removing half of the

fentanyl from the vial, adulterating it by replacing the volume he took with

another substance rendering the contents of the vial at half its labeled strength and

administering said adulterated fentanyl to S.M., a patient, and serious bodily

injury to S.M. resulted.

      All in violation of Title 18, United States Code, Section 1365(a).




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                                      COUNTS 18-20
                    (False Statement Relating to Health Care Matters)

      16.    The grand jury realleges and incorporates by reference the allegations

set forth in paragraphs 1 - 10 as if fully set forth herein.

      17.    On or about each of the dates set forth below, in the Central District

of Illinois and elsewhere,

                                 PHILLIP M. JENSEN,

defendant herein, knowingly and willfully falsified, concealed, and covered up by

a trick, scheme, and device a material fact, the nature and extent of the services he

provided to patients of his practice, in connection with the delivery of health care

benefits, items, and services involving Molina Healthcare of Illinois, a health care

benefit program as defined in 18 U.S.C. § 24(b), each instance constituting a

separate offense:

                                 1
                       Count         Date           Patient
                      18.            6/8/2020       C.A.
                      19.            1/17/2020      R.P.
                      20.            5/22/2020      S.W.


      All in violation of Title 18, United States Code, Section 1035.




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                                                 s/ Foreperson


s/ Douglas F. McMeyer
